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U=B. EANKROPch GOURT
EASTERN DlsTRlcT OF TExAS

SEP - 8 2017
UNITED STATES BANKRUPTCY COURT

FOR THE EASTERN DISTRICT OF TEXAS CLERK` U'S' BANKRUPTCY couR-r

 

 

 

_Sbeman__ DIVISION
|nterphase Corporation 15-4‘| 732
DEBTOR(S) CASE NO.
l am a Credito|' in the above referenced bankruptcy case.

 

My PREVIOUS address is; 205 East 42nd Street

 

New York, NY 10017

 

Please CHANGE to the new address: 228 Park Ave S #63787

 

New York, New York 10003-1502

 

DATE: 08/31/2017

 

DEBTOR SIGNATURE:

 

JOINT DEBTOR SIGNATURE
(If filed by Debtor)

 

NAME OF CREDITOR: B.E. Cap:ta| |Vlanagement Func| LP

AUTHORIZED SIGNATURE: '@Yfm

Nlanaging Partner, B.E. Capita|

 

TITLE:
(If flled by Creditor)

 

Mail to: U. S. Bankruptcy Court
300 Wi||OW, Suite 100
Beaumont, TX 7770'[

 

